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              IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                   NORTHERN DIVISION




 THE PROCTER & GAMBLE COMPANY
 and THE PROCTER & GAMBLE
 DISTRIBUTING CO.,
           Plaintiffs,                               MEMORANDUM DECISION AND
                                                     ORDER DENYING DEFENDANTS’
                                                     MOTION IN LIMINE AS TO
                                                     PLAINTIFFS’ EXPERT ROSEN


                   vs.


 RANDY L. HAUGEN, et al.,                            Case No. 1:95-CV-94 TS
           Defendants.




       This matter is before the Court for consideration of Defendants’ Motion in Limine as

to Plaintiffs’ Expert Rosen. Defendants raise a Daubert1 challenge to Plaintiffs’ expert, Dr.

Rosen’s, testimony and seek an order excluding his testimony at trial.

       Defendants contend that Dr. Rosen’s opinion, which applies four methodologies to

reach opinions on four categories of damages is unreliable. They contend that Dr. Rosen’s

opinions are not helpful because Dr. Rosen could not testify as to causation; that he is not

a qualified expert because he lacks experience or expertise in such areas as marketing


       1
           Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993).

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and rumors, that his opinions are not relevant because there is an impermissible analytical

gap between the premise and the conclusion; and that two of his methodologies are merely

lists of claimed damages for which expert testimony is not required.

       Plaintiffs contend that Dr. Rosen is well-qualified, that all four of his damages

analyses comport with the law concerning damages under the Lanham Act and accepted

methodology, and that his testimony will helpful to the jury.

       The Tenth Circuit has frequently applied the Daubert analysis:

       In evaluating the admissibility of expert testimony, trial courts are guided by
       a trilogy of Supreme Court cases: Daubert; Kumho; and Joiner. Together
       these cases clarify the district court's gatekeeper role under Federal Rule of
       Evidence 702. Under Rule 702, a district court must satisfy itself that the
       proposed expert testimony is both reliable and relevant, in that it will assist
       the trier of fact, before permitting a jury to assess such testimony.2

       This obligation involves a two-part inquiry. “A district court must [first]
       determine if the expert's proffered testimony . . . has ‘a reliable basis in the
       knowledge and experience of his [or her] discipline.’” In making this
       determination, the district court must decide “whether the reasoning or
       methodology underlying the testimony is scientifically valid . . . ” Second, the
       district court must further inquire into whether proposed testimony is
       sufficiently “relevant to the task at hand.”3

       The Court will first address Defendants’ challenges to the reliability of Dr. Rosen’s

evidence.




       2
         United States v. Rodriguez-Felix, 450 F.3d 1117, 1122-23 (10th Cir. 2006).
(citing Kumho Tire Co. v. Carmichael, 526 U.S. 137, 141 (1999); and General Electric
Co. v. Joiner, 522 U.S. 136, 142 (1997)) (other citations omitted).
       3
       Norris v. Baxter Healthcare Corp., 397 F.3d 878, 883-84 (10th Cir. 2005)
(quoting Bitler v. A.O. Smith Corp., 391 F.3d 1114, 1119 (10th Cir. 2004) (quoting
Daubert, 509 U.S. at 589, 592-93, 597)).

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      In reviewing whether an expert's testimony is reliable, the trial court must
      “assess the reasoning and methodology underlying the expert's opinion . .
      .” “[A]n expert's scientific testimony must be based on scientific knowledge,
      which ‘implies a grounding in the methods and procedures of science’ based
      on actual knowledge, not ‘subjective belief or unsupported speculation.’”
      The Supreme Court in Daubert listed four nonexclusive factors that a trial
      court may consider in making its reliability assessment: (1) whether the
      theory at issue can be and has been tested; (2) whether the theory has been
      subjected to peer review and publication; (3) whether there is a known or
      potential rate of error and whether there are standards controlling the
      methodology's operation; and (4) whether the theory has been accepted in
      the relevant scientific community.4

      Defendants contend that Dr. Rosen is not qualified as an expert because he is not

a market analyst, has no experience in marketing, and has not previously researched the

effect of rumors on a consumer product company. Plaintiffs contend that he well-qualified.

      The Court finds that Plaintiffs have met their burden of establishing that Dr. Rosen’s

knowledge and experience qualify him as an expert in economics and show he is qualified

to perform the econometric analyses summarized in his report. He is Ph.D in economics

with 31 years experience teaching at the undergraduate and graduate level. He is a

member of several professional organizations. He has done extensive research and

published many articles.5 He has researched and published on the subjects of consumer

expenditure, has evaluated many companies,6 and testified that his area of expertise—

calculations of the type made in the present case—do not require marketing consulting.

He previously testified as an expert in the related Texas case.

      4
       Id. at 1123 (quoting Dodge v. Cotter Corp., 328 F.3d 1212, 1221-22 (10th Cir.
2003) (quoting Daubert, 509 U.S. at 590, 592-93)).
      5
          Pl.s’ Ex. B (Rosen Curriculum Vitae).
      6
          Rosen Dep. at 321-23.

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       The Court will examine Methods I and II used by Dr. Rosen under the reliability

prong of Daubert. As to Methods III and IV, Defendants do not argue that the methodology

is not reliable.7

       Dr. Rosen’s Method I is a multiple regression analysis comparing sales during a

three year period before the Amvox Messages with sales during a period following the

Amvox Messages. Dr. Rosen measured the sales by comparing actual sales data from

supermarket checkout scanners in representative zip code areas in 17 cities in 13 states.8

Dr. Rosen made an analysis for the 1999 Texas trial and updated his analysis in 1996 to

correspond to the date that Defendants contend that the Amvox Messages were sent.

       There were 43 of Plaintiffs’ products named in Amvox Messages.9 In order to

perform analysis under Method I, the actual sales data had to be ordered in a special by-

zip-code format from an independent third party, at considerable expense.10 The expense

for the by-zip-code data was incurred for only five of the 43 products. Dr. Rosen analyzed

that data for the five products and determined that, of the five products, only three had a

statistically significant demand shift in sales during the period following the Amvox




       7
       Instead, Defendants argue that Dr. Rosen’s opinions using Methods III and IV
are matters for which no expert testimony is required.
       8
           Pl.’s Ex. A, Rosen Report at 5.
       9
           Id. at 10.
       10
        Procter & Gamble Co. v. Haugen (P & G III), 427 F.3d 727, 736, 739-41 (10th
Cir. 2005).

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Messages. Dr. Rosen’s opinion on damages using Method I is confined to only those three

products.11

       Defendants do not dispute that the multiple regression analysis is the method of

choice to test and quantify the relationship amongst the variables chosen. The Court finds

that is clear from the record that the multiple regression analysis method is well established

and accepted in the field of economics.

       Instead of challenging the multiple regression analysis method, Defendants

challenge the Plaintiffs’ strategy of confining their claim for damages under this method to

the rumor’s alleged effect on the sale of only three of its products. Defendants contend

that Dr. Rosen’s determination to apply the method to only five of the 43 possible products

and to then confine his damages’ opinion to only three of those five is a “product selection

method” that should separately be analyzed as a “method” under Daubert.

       As Plaintiffs point out, Dr. Rosen does not extrapolate from the data for the three

products to a damage calculation for all of the 43 products mentioned in the Amvox

Messages. If there were such an attempted extrapolation from the sales of these three

products to conclusion about damages regarding sale of the other 40 products, the

selection of such representative products would have been part of the methodology.

However, because there is no extrapolation, Dr. Rosen’s selection of the three products

was not the use of a separate scientific methodology. Instead it was a strategic choice

regarding the scope of damages to be at issue at trial. Plaintiffs did not obtain the



       11
            Rosen Report at 4.

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expensive by-zip-code data for all of the products. Dr. Rosen, Plaintiffs, or a combination

of both, determined which of the 43 products’ sales data was worth ordering. This decision

then limits the scope of Plaintiffs’ damages claim under Method I to the sale of only those

three products, but is not a Daubert issue. “By its terms, the Daubert opinion applies only

to the qualifications of an expert and the methodology or reasoning used to render an

expert opinion,”12 not to strategic litigation decisions.

       The Court also finds that Dr. Rosen’s conclusion that there was no statistically

significant demand shift for two of the five products is a conclusion reached through

application of the methodology, not a separate methodology. This Court’s focus in a

Daubert inquiry “should not be upon the precise conclusions reached by the expert, but

on the methodology employed in reaching those conclusions.”13 Rather than raising

Daubert issues, the Court finds that Defendants arguments raise credibility issues.14

       Defendants also contend that Dr. Rosen’s application of Method I lacks connection

to the case and foundation because there is the type of “analytical gap” between the data

and the opinion that was rejected by the Supreme Court in Joiner.15 In particular,

Defendants contend that Dr. Rosen failed to take into account such factors as the sales

of the other 40 products, competitor’ prices, non-grocery store sales, and is based upon

       12
            U.S. v. Lauder, 409 F.3d 1254, 1264 (10th Cir. 2005).
       13
            Bitler, 391 F.3d at 1121.
       14
          E.g. Def.s’ Mem. at 9 (“He rejected two of the products that showed a gain in
volume share” and “Had P & G’s reputation been damaged by the Satanism rumor, all
of its products would have declined in market share, rather than just the three selected.”
       15
            522 U.S. 136.

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the erroneous assumption that consumers would identify the three products with Plaintiffs.

As to the argument that Method I is based upon the erroneous belief that consumers would

identify the three products with Plaintiffs, those three products were specifically named in

the Amvox Messages as being Plaintiffs’ products, thereby establishing a sufficient basis

for Dr. Rosen’s assumption.

       Unless a regression analysis is “so incomplete as to be inadmissible as irrelevant,”

“[n]ormally, failure to include a variable will affect the analysis’ probativeness, not its

admissibility.”16 This is especially true where the expert is one in a “discipline that

require[s] the use of professional judgment . . . reasonable experts may differ in exercising

their judgment as to . . . the appropriate variable to plug into a calculation.”17 The Court

finds that Dr. Rosen has sufficiently accounted for variables in his opinion to meet the

threshold of reliability for admissibility at trial. “Vigorous cross-examination, presentation

of contrary evidence, and careful instruction on the burden of proof are the traditional and

appropriate means of attacking shaky but admissible evidence.”18

       As to the claim that Method I lacks foundation because it relies upon call center data

provided by Plaintiffs, the Court finds that it is the type of information relied upon by


       16
          Bazemore v. Friday, 478 U.S. 385, 400 and n.10 (1986) (finding trial court erred
in failing to consider analysis because it did not include all measurable variables
thought to have an effect on issue.).
       17
         In re Commercial Financial Services, Inc., 350 B.R. 520, 528 (Bkrtcy. N.D.
Okla. 2005) (rejecting Daubert challenge to assumptions made in solvency opinion of
trustee’s CPA and certified fraud examiner because they went to opinion’s weight, not
to the reliability of expert’s methodology).
       18
            Daubert, 509 U.S. at 596.

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experts. The call center statistics are disputed by the parties and Defendants may

challenge those statistics at trial but they are sufficient to establish the admissibility of the

opinion.

       Defendants also challenge the reliability of Method II. This method compares the

sales of 41 of the Plaintiffs’ products that were specifically mentioned in the Amvox

Messages with sales of a group of 51 of Plaintiffs’ products that were not mentioned.19 Dr.

Rosen did not include two of the 43 products identified in the Amvox Messages in this

analysis because he found they accounted for a very small amount of Plaintiffs’ total

sales.20 Method II is modeled on the methodology used in another Lanham Act case,

Brunswick Corp. v. Spinit Reel Co.,21 to compare the growth rates of the two groups.

       Defendants challenge the methodology because they contend Dr. Rosen failed to

separately analyze the specific products, failed to consider that some of the products had

substantial gains, did not consider all possible variables, and failed to account for why

some targeted products gained ground while some lost ground.

       Plaintiffs contend that this method was approved in Brunswick and admitted by

Defendants’ own expert to be proper. Having considered all of Defendants objections to

the reliability of the methodology, the Court agrees with Plaintiffs that this method was

approved in Brunswick and finds that Plaintiffs have met their burden of showing the


       19
        Rosen Report at 11 (designating 51 untargeted Procter & Gamble products as
the control group).
       20
            Id. at 9.
       21
            832 F.2d 513 (10th Cir. 1987).

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reliability of Method II. As with Method I, the Court finds that Defendants’ objections to Dr.

Rosen’s application of the methodology go its weight and his credibility rather than to its

admissibility.

       Defendants also contend that Dr. Rosen’s opinions are not reliable because there

is insufficient evidence to support Plaintiffs’ claims. The Court has already addressed this

argument in its Orders on the summary judgment motions.

       The Court finds that Plaintiffs have met their burden of showing the reliability of Dr.

Rosen’s methodology for Methods I and II, and as noted, Defendants do not challenge the

methodology of Methods III and IV. The Court turns to the second Daubert prong.

       Assuming [the] reliability prong is met, the court will still consider other
       non-exclusive factors to determine whether the testimony will assist the trier
       of fact: (1) whether the testimony is relevant; (2) whether it is within the
       juror's common knowledge and experience; and (3) whether it will usurp the
       juror's role of evaluating a witness's credibility. In essence, the question is
       “whether [the] reasoning or methodology properly can be applied to the facts
       in issue.”22

       Defendants object to the relevance prong for all four of Dr. Rosen’s damages

opinions on the grounds that he has not shown causation. The Court finds that Dr. Rosen

does show a causal relationship under Methods I and II. His calculations of damages

under all four methods are relevant to issues before the jury. The Court finds that the

areas addressed in his report as to Methods I and II are not areas within the jurors’

common knowledge and experience and that Dr. Rosen’s specialized and technical




       22
            Rodriquez-Felix, 450 F.3d at 1123 (quoting Daubert, 509 U.S. at 593).

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knowledge will assist the jury to understand the damages evidence and to determine the

damages facts in issue.

       As to Method III, this is an estimate of the dollar sales of each of the Defendants

during the times at issue. This is an issue that will be before the jury. This information is

collected from the tax return schedules, reports, depositions, etc. Defendants include

individuals and companies. The Court finds that some of these are not areas within the

jurors’ common knowledge and experience. The Court finds that Dr. Rosen’s specialized

and technical knowledge will assist the jury to understand the evidence for the Method III

damages.

       As to Method IV, this is list of the out-of-pocket damages claimed by Plaintiffs as a

result of the Amvox Messages. This type of list of claimed damages is not technical and

is within the jurors’ common knowledge and experience. Plaintiffs do not appear to argue

that specialized or technical knowledge would be required or helpful to the jurors for this

evidence. The Court finds that no expert testimony is required on these claimed out-of-

pocket damages but that the information itself is directly relevant to a claim at issue before

the jurors. Whether it is admissible though Dr. Rosen as a fact witness or through another

witness remains to be established through a proper foundation at trial.

       Lastly, Defendants contend that the evidence should be excluded under Fed. R.

Evid. 403 as unfairly prejudicial because it is both farfetched and misleading due to the

amount of damages contained in Dr. Rosen’s report. Plaintiffs naturally oppose this

position. The Court finds no unfair prejudice to Defendants. It is therefore




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      ORDERED that Defendants’ Motion in Limine as to Plaintiffs’ Expert Rosen (Docket

No. 933) is DENIED.

      DATED February 15, 2007.

                                       BY THE COURT:


                                       ___________________________________
                                       TED STEWART
                                       United States District Judge




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                             United States District Court
                                       for the
                                  District of Utah
                                 February 15, 2007

            ******MAILING CERTIFICATE OF THE CLERK******

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